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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

DARREYLL T. THOMAS,

        Plaintiff,
                                                    Case No. 20-cv-1080-bbc
   v.

NICOLE DOE, JEFF DOE,
and DANE COUNTY JAIL,

        Defendants.


                            JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered dismissing this

case with prejudice.




        /s/                                             5/5/2021
        Peter Oppeneer, Clerk of Court                        Date
